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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA — FORT MYERS DIVISION

CASE NO. 9:18-bk-01169-FMD
CHAPTER 7

IN RE:

OSVALDO SANTA MARIA AKA

OSVALDO SANTA MARIA

PADRON AKA OSVALDO

SANTA-MARIA and YUNIA

SANTA MARIA AKA YUNIA

SANTA-MARIA,

Debtors
/

DEUTSCHE BANK NATIONAL TRUST’S RESPONSE TO
TRUSTEE’S OBJECTION TO PROOF OF CLAIM NO. 5-1 (DE-27)

COMES NOW, Deutsche Bank National Trust Company, as certificate trustee on behalf
of Bosco Credit II Trust Series 2010-1 (hereinafter “Creditor”), by and through its undersigned
attorney, as and for its Response to the Trustee’s Objection to Claim No. 5-1 (Doc. No. 27),
states as follows:

1, The Debtors filed a voluntary petition pursuant to Chapter 13 of the Bankruptcy Code
on February 16, 2018..

2. Creditor timely filed its unsecured Proof of Claim No. 5-1 in the amount of
$92,402.06 on September 25, 2018 (the “Claim”).

3. The Claim arises out of debt connected with a promissory note executed by Debtor,
Osvaldo Santa Maria, on or around September 22, 2005 (the “Note”). In conjunction with the
note, the Debtor executed a mortgage and granted Creditor a junior lien on the real property
located 1702 North Dewitt Avenue, Lehigh Acres, Florida 33971 (the “Property”). The Note is

attached an exhibit to the Claim.

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4. On March 18, 2019, the Trustee filed an Objection to Claim No. 5-1 (Docket No.27)
asserting that: (1) the Claim did not provide sufficient information and/or documentation to
determine the basis or the appropriate amount of the claim or whether the claim is barred by the
statute of limitations or includes post-petition charges ( the “Objection”). The Objection seeks to
strike and disallow the Claim.

5. Creditor opposes the relief being sought by the Objection and asserts that the Claim is
valid as filed.

Statute of Limitations

6. The Claim is not barred by the Statute of Limitations.

7. Under Florida law, when a creditor exercises its right to accelerate the amount due
and owing under a note, the statute of limitations begins to run for the creditor to enforce the
note. See Greene v. Bursey, 733 So. 2d 1111, 1114-15 (Fla. 4th DCA 1999) ("Where the
installment contract contains an optional acceleration clause, the statute of limitations may
commence running earlier on payments not yet due if the holder exercises his [or her] right to
accelerate the total debt because of a default.").

8. In the instant case, the Note executed by the Debtor, which provides the basis for
Creditor’s claim, did not mature until October 1, 2020 and Creditor did not otherwise accelerate
the loan until May 24, 2017 when its Complaint to enforce the terms of the promissory note was
filed in the Circuit Court of the Twentieth Judicial Circuit, in and for Collier County, Florida.
See Exhibit A attached hereto.

Ds Creditor is therefore within the applicable Statute of Limitations to enforce the Claim.

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Fees/Costs
10. Creditor is in the process of amending the Claim to show the dates of the claimed fees
and costs in the amount of $2,963.15.
11. Creditor serves the right to supplement this Response at any time at or prior to the

hearing on the Objection.
WHEREFORE, Creditor respectfully requests that Trustee’s Objection to its Proof of
Claim be overruled and that the Court grant such other and further relief as the Court may deem

just and proper.

Respectfully Submitted,

 

 

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I HEREBY CERTIFY that a true and correct copy of the foregoing was served
electronically by CM/ECF or by U.S. Mail, first-class postage pre-paid to all parties on the

attached Mailing List this My of April, 2019.

 

 

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